         Case 1:21-cv-07863-VEC Document 45 Filed 10/07/21 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

Kate, et al.

               Plaintiffs,

                       s.                          DECLARATION OF
                                                   STEPHANIE DICAPUA
de Blasio, et al.
                                                   Ci il Action No. 1:21-c -07863
               Defendants.


STATE OF                             )
                                     ) ss.:
COUNTY OF                            )


   STEPHANIE DI CAPUA, declares nder penalt of perj r , p rs ant to 28 U.S.C.

 1746, that the follo ing is tr e:

   1.   I am one of the plaintiffs in this case.

   2. I ha e sincerel held religio s beliefs that do not allo me to take a COVID-19

         accine.

   3. On September 13, 2021, I s bmitted m religio s e emption letter and a letter

        from a "religio s official" (pastor), as req ested b the DOE, thro gh the SOLAS

        s stem (the da the portal opened for e emptions).

   4. M application met all the criteria- M personal religio s e emption letter

        detailing m sincerel held religio s beliefs that o ld not allo me to take

         accines, as ell as a letter for religio s e emption doc mented in riting, from

        m pastor erif ing m beliefs against accinations.
     Case 1:21-cv-07863-VEC Document 45 Filed 10/07/21 Page 2 of 3




5. On September 17, 2021, I recei ed an a togenerated message, the same ones

   reported b m co-plaintiffs, that stated that I as denied beca se it is an nd e

   b rden to ha e to accommodate m religio s e emption since the DOE mandate

   still req ires that I o ld ha e to be banned from entering an school b ilding if

   accepted.

6. I a    ea ed   e    a de a          ed a e   a d    b    ed a a    ea            e

   SOLAS          e , ae   a     a e            Se e be 17 , 2021.

7. I as not allo ed to do a oom appeal hearing. Instead, on September 24, 2021, I

   recei ed a notification that I as DENIED. Both the area to rite in the details

   of the oom appeal meeting and the reason for denial ere blank. I attach a tr e

   and acc rate cop of m denial to this email as EXHIBIT A.

8. I then recei ed a message stating that I as being placed on lea e itho t pa

   (LWOP) beca se o are not in compliance ith DOE s co id-19 accine

   mandate. If o are a s bstit te or in certain titles o ha e been placed in

   another inacti e stat s, not on LWOP. Thi           ea                     e

                      ch       i e begi    i gM        da , Oc    be 4 h.

9. As the notification sa s,    hen o are on lea e itho t pa , o : cannot ork

   and ill not recei e compensation, b t o            ill contin e o r medical benefits;

   cannot se ann al lea e, CAR or sick time and cannot enter an b ildings or

   speak ith an st dents or families.

10. When I tr to look at m options in SOLAS, I am pro ided ith a message that

   sa s     e see that o ha e been placed on an npaid lea e d e to noncompliance
       Case 1:21-cv-07863-VEC Document 45 Filed 10/07/21 Page 3 of 3




       ith the DOE s accine mandate. What o ld o like to do? The options

   pro ided are:

   -     Ret rn to ork ithin se en da s [m          nderstanding is this option req ires

         accination]

   -     Resign ith special pro isions and retire

   -     Resign ith special pro isions

   -     Resign

   -     Retire

11. These are m onl options.

12. I do not consent to ol ntaril   resign. I do not consent to sta on      npaid lea e

   and not e en be able to se m accr ed sick time, acation or other pa , or to

   collect nemplo ment since I as terminated against m            ill for m religio s

   beliefs.



                                                      _________________

                                                      STEPHANIE DI CAPUA
